Case 6:19-bl<-01511-KS.] Doc 1 Filed 03/11/19 Page 1 of 56

Fi|l in this information to identify your case:

 

United States Bankruptcy Court for the: |\/||DD|_E D|STR|CT OF F|_OR|DA \ FiLEDORLANDU D\visioN

Ziil‘iilhii ll Altll=ZB

iii`“'i`€°;"i' C?thil"i
iii i"i._, iiiil:.,~,
E] check if this is an

Q M)QF/<§,M amended filing
official Form 101 "
Voluntary Petition for lndividuals Filing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

i
l
l
Case number ilrknown); Chapter you are filing under: l
Chapter 7 1

n Chapter11 1
i

   

El chapter 12
El ohapter 13

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m identify Yourself

 

 

 

 

 

 

 

 

 

 

 

About Debtor1: About Debtor 2 (Spouse On|y in a Joint Case):
1. Your full name
Write the name that is on your
government-issued picture P|<AM|L F_ t
identification (for example, F rst name "S name
your driver’s license or
passport). Middle name Midd|e name
Bring your picture |DR‘S
identincation to your meeting Lasf name Last name
with the trustee.
Suft"ix (Sr., Jr., ll, |ll) Sufflx (Sr., Jr., |l, lll)
2. All other names you
have used in the last 3 Flrst name Flrst name
years
lnc|ude your married or Middie name Middie name
maiden names.
Last name Last name
Flrst name First name
M|dd|e name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security XXX ` XX _ -9- l _1-- --8- XXX _ XX _ -- --- »-- --
number or federal OR oR
individual Taxpayer
identification number 9 XX “‘ XX ____ ___ __ _ 9 XX _ XX _____ ___ ___ ___
(|T|N)

 

 

 

Official Form 101 Voluntary Petition for individuals Fillng for Bankruptcy page 1

 

 

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Debtor1 KANHL lDRiS

 

Flrst Name Mlddle Name

Last Nsme

Case number (irknown)

 

4. Any business names
and Employer
identification Numbers
(EiN) you have used in
the last 8 years

include trade names and
doing business as names

About Dabtor 1:

m l have not used any business names or EiNs.

About Debtor 2 (Spouse Oniy in a Joint Case):

m l have not used any business names or E|Ns.

 

Business name

Business name

 

Business name

Business name

 

 

 

 

 

 

 

 

 

iii _ J _
Eii\i “'_ v _______ M _ _ _______
5, Where you live if Debtor 2 lives at a different address:
9200 SUl\/ll\/llT CENTRE WAY
Number Street Number Street
204
ORLANDO FL 32810
Clty State ZiP Code Cify State ZiP Code
ORANGE COUNTY
County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

if Debtor 2’s mailing address is different from
yours, fill lt in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

Number Street Number Street

P.O. BoX P.O. Box

City State ZiP Code Ciiy State ZiP Code
s, Why you are choosing Check one: Check one:

this district to file for
bankruptcy

m Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district

a l have another reason. Exp|ain.

(See 28 U.S.C. § 1408.)

 

 

 

 

n Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district

Cl l have another reason. Exp|ain.

(see 28 u.s.c. § 1408.)

 

 

 

 

 

 

Ofiicial Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 2

 

Debtor 1

Case 6:19-bl<-01511-KS.] Doc 1 Filed 03/11/19 Page 3 of 56

lleii\`\ \

Flrst Neme

Mlddle Name

`:imd i"\ 53

Last Name

Case number (iiknown)

m Teil the Court About Your Bankruptcy Case

 

7. The chapter of the

Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

n Chapter 7
Ci Chapter 11
l;i Chapter 12
U Chapter 13

 

 

 

 

 

 

 

 

 

a. How you will pay the fee Cl l will pay the entire fee when i file my petition. Please check with the clerk’s omce in your
local court for more details about how you may pay. Typicaliy, if you are paying the fee
yourself, you may pay with cash, cashier‘s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address
[] l need to pay the fee in installments if you choose this option, sign and attach the App/icati'on
for individuals to Pay The Filing Fee in installments (Official Form 103A).
g i request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter `7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for a No
bankruptcy within the _ _
last 8 years? ij Yes. District When Case number
MM/ DD/YYYY
District When Case number
iviivi/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy q NO
cases pending or being
filed by a spouse who is n Yes. Debtor Relationshipto you
not filing this ca_$e with District When Case number, if known
you, or by a business MM / DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM / DD/YYYY
11- DO _y°u rer your El No. co to iine 12.
res'dence? a Yes. l-las your landlord obtained an eviction judgment against you?

Official Form 101

n No. Go to line 12.

cl Yes. Fill out initial StatementAbout an Eviction JudgmentAga/nst You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3

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Debtor1 KAM|L iDRlS

Case number (iiknown)

 

Flrst Name Mlddle Name

Lasi Name

m Report About Any Businesses You own as a Sole Proprietor

12.

 

Are you a sole proprietor
of any fuii- or part-time
business?

A sole proprietorship is a
business you operate as an
individua|, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

iZ.i No. eo to Pari 4.

m Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

Clty State Z|P Code

Check the appropriate box to describe your business.'

n Health Care Business (as defined in 11 U.S.C. § 101(27A))
n Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
m Stockbroker (as defined in 11 U.S.C. § 101(53A))

|;i Commodity Broker (as defined in 11 U.S.C. § 101(6))

l;l None of the above

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtoi’?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

m No. l am not filing under Chapter 11.

ij No. l am ming under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

l;l Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That: Needs lmmediate Attention

14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock

that must be fed, or a building
that needs urgent repairs?

Official Form 101

m No
g Yes. What is the hazard??

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property??
Number Street

 

 

 

C|ty State Z|P Code

Voluntary Petition for individuals Filing for Bankruptcy page 4

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Debtor1 KANHL lDR|S

 

Flrst Name Middie Name

Lasi Name

Case number iirknown)

m Exp|ain Your Efforts to Receive a Briefing About Credit Counseiing

 

15, Teil the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you die for
bankruptcy. You must
truthfully check one of the
following choices lf you
cannot do so, you are not
eligible to file.

|f you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one.'

M l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you NlUST file a copy of the certificate and payment
plan, if any.

L_.] l certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 130-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you died for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n i am not required to receive a briefing about
credit counseling because of:

n |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

n Disabi|ity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

ij l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certihcate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you die this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to die this case.

Your case may be dismissed if the court is
dissatisded with your reasons for not receiving a
briehng before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briehng within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, |f you do not do so, your case
may be dismissed

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days

m | am not required to receive a briefing about
credit counseling because of:

a |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

Cl Disabi|ity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

ij Active duty. l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 6 of 56

Debtor1 KAMlL lDRlS

Case number iiiknawn)

 

Flrst Name Mldiile Name

Lasi Name

m Answer These C\uest:ions for Reporting Purposes

 

ie. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8)
as “incurred by an individual primarily for a personai, family, or household purpose."

i:l No. Go to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

El No. Go to line 160.
l:l Yes. Go to line 17.

160. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

l;l No. l am not filing under Chapter 7.

m Yes. l am hling under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and EZ| No
administrative expenses
are paid that funds will be n YeS
available for distribution
to unsecured creditors?
18. How many creditors do m 1-49
you estimate that you ij 50-99
°We? D 100~199
Ci 200-999
19. How much do you EZ| $0-$50,000

estimate your assets to
be worth?

El $50,001-$100,000
iIi $100,001-$500,000
D $500,001-$1 miiiion

 

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

Ei $0-$50,000

EZi $50,001-$100,000
U $100,001-$500,000
Cl $500,001-$1 miiiion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and
correct.

if l have chosen to file under Chapter 7, l am aware that l may proceed, if eligib|e, under Chapter 7, 11,12, or 13 of
title 11, United States Code. l understand the relief available under each chapter 7, and l choose to proceed under
Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud iri connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 15 9, and 3571.

xi<<,(ii`, x

 

Signature of Debtor 1 Signature of Debtor 2
Executed on O 3 l )é, 263 l l Executed on
MM l DD /YYYV MM / DD /YYYY

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 6

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 7 of 56

Debtor1 K/-\|\/|lL |DR|S

Case number (/ri<nown)

 

Flrst Name Mlddle Name

Lasl Name

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney,

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
Hrm if your case is selected for audit. |f that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcyl you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfu|, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that Hling for bankruptcy is a serious action with long-term financial and legal
consequences?

n No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be Hned or imprisoned?

n No

m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
m No

n Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Dec/aration, and Signature (Offlcial Form 119).

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that Hling a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case,

xMjW/ x

 

 

 

 

 

Signature o(f Debtor 1 Signature of Debtor 2
Date C)B 106 / Q<`> ij Date
MM/DD /YYYY MM/ DD/YYYY
Contact phone 407'920“9714 Contact phone
Ceil phone 407‘920‘9714 Cell phone
Emall address K'DR'SQD@OUTLOOK~COM Emall address

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 8

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Fill in this information to identify your case:

Debtor1 i<d\ii\\\ sledi \ ‘:)
Flrst Name Middie Name Lsst Name

Debtor 2
(Spouse, if filing) Flrst Name Mlddie Name Laai Name

l\/liDDLE DlSTRiCT OF FLORl

 

United States Bankruptcy Court for the:

 

Case number n CheCk if this iS an
iiiknown) amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabiiities and Certain Statisticai information 12/15

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
lnformation. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

 

Your assets
Value of what you own

1. Schedule A/B.' Properfy (Official Form 106A/B)

 

ia. Copy line 55, Totai real estate, from Schedule A/B .......................................................................................................... $ ___~D_Q-Q
1b. Copy line 62, Totai personal property, from Schedule A/B ............................................................................................... $ 370-00
1c. Copy line 63, Totai of all property on Schedule A/B ......................................................................................................... $ 370_00

 

 

 

 

 

m Summarize Your Liabiiities

Your liabilities
Amount you owe

g 2. Schedule D: Cred/'lors Who Have C/aims Secured by Properfy (Official Form 1060)

2a Copy the total you,|isted in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ ________9'_(20_
3. Schedule E/F: Credifors Who Have Unsecured Claims (Ofncial Form 106E/F) 0 00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $ _~'-
3b. Copy the total claims from Part 2 (nonpriority unsecured ciaims) from line 6j of Schedule E/F ....................................... + $ 61502.00

 

Your total liabilities $ M

 

 

 

m Summarize Your income and Expenses

4` Schedule l.' Yourlncome (Official Form 106l)

Copy your combined monthly income from line 12 of Schedule I .......................................................................................... $ _~§QU
f 5. schedu/e J.- Your Expenses (omcisi Form 106J)
Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ 810'00

 

Official Form 1068um Summary of Your Assets and Liabi|ities and Certaln Statistica| information Page 1

Case 6:19-bi<-01511-KS.] Doc 1 Filed 03/11/19 Page 9 of 56

Debtor 1 KAM|L |DR|S Case number (/rknown)

 

Flrst Name Mlddle Name Last Name

 

 

m Answer These Questions for Administrative and Statistical Records

l
6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

i cl No.
Yes

§ 7. What kind of debt do you have?

w Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ochiai

j Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 1220-1 Line 14.

, 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

l From Part 4 on Schedule E/F, copy the foilowlng:

9a. Domestic support obligations (Copy line Ba.)
9b. Taxes and certain other debts you owe the government (Copy line 6b.)
90. Ciaims for death or personal injury while you were intoxicated (Copy line 60.)

9d. Student loans. (Copy line 6f.)

9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 69.)

9f. Deth to pension or profit-sharing plans, and other similar debts (Copy line 6h.) +

 

 

 

 

99. Totai. Add lines 9a through 9f.

 

 

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information

$ 466.67

Totai claim

$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$__~,___Q~QQ
$ 0.00

page 2

 

Case 6219-bi<-01511-KS.] DOC 1 Filed 03/11/19

Fill in this information to identify your case and this filing:

KAMlL lDRlS

Flrst Name

Debtor 1

 

Mldd|e Name test Name

Debtor 2
(Spouse, if illing) FirsiName

 

Middie Name

M|DDLE D|STR|CT OF FLOR|DA

LaslName
United States Bankruptcy Court for the:

Case number

 

 

 

Official Form 106A/B
Schedule AlB: Property

 

Page 10 of 56

El check ifthis is an
amended filing

12/15

 

in each category, separately list and describe items. Llst an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

m Describe Each Residence, Buiiding, Land, or Other Reai Estate You Own or Have an interest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, |and, or similar property?

M No. co to Pan 2.

[] Yes. Where is the property?
What is the property? Check all that appiy.
n Single-family home

1.1' Street address, if availabie, or other description n Dup|ex or multi_unitbu"ding

n Condominium or cooperative

m Manufactured or mobile home

n Land

n investment property

n Timeshare

n Other

 

 

 

City State Z|P Code

 

Who has an interest in the property? Check one,

[;l Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/alms Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

lf you own or have more than one, list here:
What is the property? Check ali that apply.
n Single-family home

1~2~ l:l Du ex or multi-un|t bulldin
Street address, if availabie, or other description pl g

 

m Condominium or cooperative
ij Manufactured or mobile home
[;l Land

m investment property

i:l Timeshare

Ei other

 

 

City State ZiP Code

 

Who has an interest in the property? Check one.

l;i Debtor1 only

a Debtor 2 only

ij Debtor 1 and Debtor 2 only

n At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Propeny.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership

interest (such as fee slmpie, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule AlB: Property

page 1

 

 

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Debtor1 KAi\/iii_ iDRiS

 

Flrst Name Middle Name

1.3.

test Name

 

Street address, if available, or other description

 

 

C|ty State ZiP Code

 

County

2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... 9

M Describe Your Vehicies

What is the property? Check all that app|y.
a Single-family home

n Duplex or multl-unit building

n Condominium or cooperative

n Manufactured or mobile home

Ei Land

m investment property

m Timeshare

Ei other

 

Who has an interest in the property? Check one.
m Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Case number (/rkncwn)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have C/aims Secured by Property.

Current value of the Current value of the l
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ 0.00

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicie, also reportith Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

w No
m Yes

3,1_ Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

if you own or have more than one, describe here:

3,2_ Make:
Model:
Year:

Approximate mileage:

 

Other information:

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
n Debtor1 only

l:l Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one,
l;l Debtor1 only

n Debtor 2 only

a Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptionsl Put
the amount of any secured claims on Schedule D:
Crediiors Who Have Ciaims Sacured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credltors Who Have Clalms Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 2

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Who has an interest in the property? Check one.

Debtor1 KAl\/llL lDRlS
Flrst Name Mlddie Name
3,3, Make:
Mode|~ m Debtor1 only
Y n Debtor2 only
ear:

Approximate mileage:

Other information:

 

 

 

 

3_4_ Make:
Model:
‘ Year:
Approximate mileage:

Other information:

 

 

 

 

n Debtor1 and Debtor 2 only
n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one,

n Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

i:l Check if this is community property (see
instructions)

Case number (iri<nown)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credltors Who Have Ciaims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Hava Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

m No
n Yes

4_1_ Make:
Model:
Year:

Other information:

 

 

 

|f you own or have more than one, list here:

4_2, Make:
Model:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
n Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor 1 only

E] Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have CIalms Securad by Property,

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/aims Secured by Properiy.

Current value of the Current value of the
entire property? portion you own?

 

m Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 0_00
you have attached for Part 2. Write that number here ........................................................................................................................ 9

Official Form 106A/B

Schedule AlB: Property

page 3

 

Case 6:19-bl<-01511-KS.] Doc 1 Filed 03/11/19 Page 13 of 56

Debtor 1 KAM l L |DR|S Case number (/rknawn)

Flrst Name Mlddle Name Lesi Name

m Describe Your Personal and Househoid items

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

Do you own or have any legal or equitable interest in any of the following ltems?

6. Househo|d goods and furnishings
Examples: Major appliances furniture, linens. china, kitchenware
No , »,
n Yes. Describe ......... j l $ 0.00
l

 

 

7. E|ectronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers printers, scanners; music
collections; electronic devices including cell phones, cameras, media players games

D'No , , , . _
m Yes.Describe .......... g COi\/|PUTER i $ 250.00

B. Co|iectlbles of value

Examples: Anthues and figurines; paintings, prints, or other artwork; books, pictures or other art objects;
stamp, coin, or baseball card collections; other collections memorabilia, collectibles
bn No

n Yes. Describe .......... w w i $ 0.00

 

 

9. Equlpment for sports and hobbles

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

mNo at
i;l Yes. Describe .......... j $ O_OO

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

m No ,. ,, t_ ,_ , . ,,t
i:l Yes. Describe .......... 1 $ 0.00

 

 

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
C|No t, , t l t
m Yes. Describe .......... l ALL cLoTHEs AND FooTwEAR g j 3 100.00

12.Jewe|ry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
m No ~ t l y
n Yes. Describe .......... § l $ 0.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

@No

n YeS.Describe ........ §§ , ,, ,, ,, t _ , _, _ , , $ 0-00

14.Any other personal and household items you did not already iist, including any health aids you did not list

mNo

[] Yes. Give specific $ 0_00
information. ............. w q ___"_"_”“

 

15. Add the dollar value of ali of your entries from Part 3, including any entries for pages you have attached $ 350 00
for Part 3. Write that number here .................................................................................................................................................... 9 '

 

 

 

Official Form 106A/B Schedule A/B: Property page 4

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Debtor 1 Ki*)\(\i\\ \

Flist Name

:}r`t“xi ,

Mlddle Name ‘Lest Name`

m Describe Vour Financiai Assets

Do you own or have any legal or equitable interest in any of the foilowlng? Current Value of the

§§

Case number (irknewn)

portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions
16. Cash
Examp/es: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
a No
m Yes ............................................................................................................................................................... Cash: _______________________ $
17. Deposits of money
Examp/es: Checking, savings or other nnanciai accounts; certificates of deposit; shares in credit unions brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.
n No
2 Yes ..................... institution namet
17.1. Checking account: Al-LY F'NANC|AL $ 20-00
17.2. Checklng account $
17.3. Savings account $
17.4. Savings accounts 3
17.5. Certlficates of deposit $
17.6. Other financial account: $
17.7. Other &nancial account $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
N:o
i;l Yes ................. institution or issuer name:
19. Non-pubiiciy traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture
No Name of entity: % of ownership:
n Yes. lee specific %
information about
them ......................... %
°/° $

Official Form 106A/B

 

Schedule AlB:

Property page 5

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Debtor1 KAMH._ iDR|S

Flrst Name Midd|a Name Las\ Name

Case number urkmwn)

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

mNo

n Yes. Give specific issuer namer
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$
$
21. Retirement or pension accounts
Examp/es.' interests in iRA, ER|SA, Keogh, 401 (k), 403(b). thrift savings accounts, or other pension or profit~sharing plans
m No
Cl Yes. List each
account separate|y. Type of account institution name:
401 (k) or similar plan: $
Pension plan: $
iRA: $
Retirement account $
Keogh: $
Additionai account $
Additionai account $
22.Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with iandiords, prepaid rent, public utilities (e|ectric, gas, water)l telecommunications
companies. or others `
m No
C] Yes .......................... institution name or |ndividua|:
E|ectr|c: $
Gas: $
Heating oii: $
Security deposit on rental unit $
Prepaid rent: $
Teiephone: $
Water: $
Rented furniture: $
Other: $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
m Yes .......................... issuer name and description:
$
$
$

 

Official Form 106A/B

Schedule A/B: Property

page 6

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 16 of 56

Debtor 1 KAMlL iDRiS Case number (irknown)

Flrst Name Middio Name Lasi Name

 

 

24.lnterests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
m No
a Yes ....................................

institution name and description Separate|y file the records of any interests.ii U.S.C. § 521 (c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

mNo

U Yes. Give specific
information about them....

 

§ $ 0.00

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: |nternet domain names, websites, proceeds from royalties and licensing agreements

mNo

n Yes. Give specific
information about them....

 

 

§$ 0_00

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive |icenses, cooperative association hoidings, liquor iicenses, professional licenses

-No

Ei Yes. Give specific
information about them....

 

 

§ $ 0.00

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptionsl

28.Tax refunds owed to you

mNo

n Yes. Give specific information

l
F d |:
about them, including whether § e era
you already filed the returns State:
and the tax years. ....................... §
§ Loca|:
i

29. Family support
Examples: Past due or lump sum alimony, spousal support child supportl maintenance, divorce settlement property settlement

mNo

n Yes. Give specific information ..............

§ Ai|mony: $
Ma|ntenance: $
§ Support $
§ Divorce settlement $
§ Property settlement $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
m No
l;l Yes. Give specific information ............... s O.OO

Official Form lOSA/B Schedule AlB: Property page 7

 

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Debtor 1 \§()\ml § m:-==§ xvi g Case number (irknown)

Flrst Name ' Mldd|e Name Lesi Name

31. interests in insurance policies
Examp/es.' Healthl disability, or life insurance;health savings account (HSA);credit, homeowner’s, or renter’s insurance

ZNo

a Yes' Name the insurance C$’mpany Company name: Beneficiary: Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

aNo

n Yes. Give specific information .............. § $ 000

 

 

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance ciaims, or rights to sue

n Yes. Describe each claim. .................... § § $ 0.00

 

34.0ther contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

il NO , , . ,, , ,, , , ,
n Yes. Describe each claim. .................... § § $ O`OO

 

 

35.Any financial assets you did not already list

ENO

l:l Yes. Give specific information ............

 

 

s 0.00

 

 

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here .................................................................................................................................................... 9 $ 20'00

 

 

 

m Describe Any Business-Related Property You 0wn or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
2 No. eo to Part 6.
i;l Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

38.Accounts receivable or commissions you already earned

53 NO ,t t ,
a Yes. Describe .......

 

39. Office equipment, furnishings, and supplies
Examp/es: Business-related computers, software, modems, printers, copiers, tax machines, rugs, telephones. desks, chairs, electronic devices
9 No , t , , , t t , t , __ , ,
l:.l Yes. Describe ....... § l$

Official Form 106A/B Schedule AlB: Property page 8

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Debtor 1 KAM| L lDR|S Case number (iii<nawiii

 

 

Flrst Name Mlddie Name ‘ Lest Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

a No
l;i Yes. Describe .......

 

41 . inventory
n No
n Yes. Describe .......

 

 

 

 

42.interests in partnerships orjoint ventures

DNo

a Yes‘ Describe """" Name of entity: % of ownership:

%
%
%

 

43. Customer iists, mailing iists, or other compilations
a No
i:l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

\;l No
n Yes. Describe ........

 

 

 

44`Any business-related property you did not already list
i:l No

a Yes. Give specific
information .........

 

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here .................................................................................................................................................... -)

Describe Any Farm- and Commercial Fishing-Related Property You own or Have an interest ln.

if you own or have an interest in farmland, list it in Part1.

€96)€6396969

 

 

 

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

EZi No. eo to Part 7.
n Yes. Go to line 47.

47. Farm animals
Examp/es: Livestock, poultry, farm~raised fish

n No
[J Yes ......................... ' f ,

 

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

page 9

 

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Debtor 1 §§ 0\~[¥)1 § :&{`i$ Case number iiiknown)

l*iret Name M|dd|a Name Lasi Name

48. Crops-either growing or harvested

i;lNo

n Yes. Give specific
information ............ $

 

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ij No
Cl Yes .......................... ' ’ '
$
50. Farm and fishing supplies, chemica|s, and feed
n No
n Yes .......................... '
$
51.Any farm- and commercial fishing-related property you did not already list
i;l No
n Yes. Give specific
information ............. $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here .................................................................................................................................................... 9
m Describe All Property ¥ou own or Have an interest in That Vou Did Not List Above
53. Do you have other property of any kind you did not already list?
Examp/es.' Season tlckets, country club membership
No
l:l Yes. Give specific $
information ............. $
l
§ $
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $ 0
List the Totals of Each Part of this Form
55.Part 'l: Totai real estate, line 2 ...................................................................................... 9 $ 0
56. Part 2: Totai vehicles, line 5 $ 0
. . `* 0
57. Part 3: Totai personal and household items, line 15 $ ‘;> 5 U n 0
58. Part 4: Totai financial assets, line 36 $ 20‘00
59. Part 5: Totai business-related property, line 45 $ 0
60. Part 6: Totai farm- and fishing-related property, line 52 $
61 . Part 7: Totai other property not |isted, line 54 + $ 0
. 370.00 370 00
62.Total personal property. Add lines 56 through 61. .................... $ Copy personal property total 9 + $ -
63.Tota| of all property on Schedule AlB. Add line 55 + line 62 .......................................................................................... $ 370'00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

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Fill in this information to identify your case:

KA|\/||l_ lDRlS

Flrst Name M|ddie Name Lest Name

Debtor 1

Debtor 2
(Spouse, if l'|ilng) FlrstName Middle Name Lasl Name

l\/llDDLE DlSTRiCT OF FLOR|

United States Bankruptcy Court for the:

 

case number El check if this is an
(if known) ,
amended filing

 

Official Form 106C
Schedule C: The Property You Ciaim as Exempt iii/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information

_ Using the property you listed on Schedule A/B: Property (Officiai Form 106A/B) as your source, list the property that you claim as exempt, if more
space is needed, fill out and attach to this page as many copies of Part 2: Additionai Page as necessary On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory |imit. Some exemptions-such as those for health alds, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Froperty You Ciaim as Exempt

1. Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing With you.

§ You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
a You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you listen Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
:;i:;ription. ELECTRoNics 3 250.00 g $ 250,00 F|a_ Stat{ Ann‘ § 222'25
Line from l:l 100% of fair market value, up to
Schedule A/B; 7 any applicable statutory limit
g;i:;ripuon' CLOTHES $ ioo,oo g $ 100.00 Fia. stat Anni §222.25
Line from 11 m 100% affair market valuel up to
Schedule A/B; ”"___ any applicable statutory limit
§;|:¢f:rlption: $ [] $ Fia. siai. Ann. §222_25
Line from El 100% of fair market value, up to
Schedule A/B_~ 16 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/199 and every 3 years after that for cases filed on or after the date of adjustment.)

MNO

n Yes. Dld you acquire the property covered by the exemption within 1,215 days before you filed this case?

a No
Cl Yes

Official Form 1060 Schedule C: The Property You Ciaim as Exempt page 1

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newa i<Ai\/iiL ioRis

Case number iiiknown)

 

Flrst Name

Middle Name Last Name

m Additionai Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.‘

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Current value of the Amount of the exemption you claim Speclfic laws that allow exemption
portion you own

Copy the value from Check on/y one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
Ai_LY FiNANciAL $ 20_00 ga $ 20.00 Fiai Siai. Ann. § 222.25
17 l;l 100% of fair market value, up to
__ any applicable statutory limit
$ El $
Ci 100% of fair market value, up to
any applicable statutory limit
$` i;i $
n 100% of fair market value, up to
__- any applicable statutory limit
$ iii $
l;.l 100% of fair market value, up to
__ any applicable statutory limit
$ l.`.i $
E] 100% of fair market value, up to
any applicable statutory limit
$ n $
l:l 100% of fair market value, up to
___ any applicable statutory limit
$ ill $
l;i 100% of fair market value, up to
___ any applicable statutory limit
$ El $
l;l 100% of fair market value, up to
any applicable statutory limit
$ Cl $
Cl 100% of fair market value, up to
____ any applicable statutory limit
$ C| $
n 100% of fair market value, up to
__ any applicable statutory limit
$ El s
m 100% of fair market value, up to
any applicable statutory limit
$ Ci $

 

l:l 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Ciaim as Exempt page 2

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 22 of 56

Fill in this information to identify your case:

Debtor KAl\ill_ lDRis

 

Flrst Name

Debtor 2

Mlddle Name

Last Name

 

(Spouse, if fillng) Flrst Name
United States Bankruptcy Court for the:

Case number

Mlddle Name

MlDDLE D|STRICT OF FLORiDA

 

Last Name

 

ill knowni

 

Official Form 106D

 

Schedule D: Creditors Who Have Ciaims Secured by Property

El check if this is an
amended nian

12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
a No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

n Yes. Fill in all of the information below.

m List All secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106D

Schedule D: Creditors Who Have Ciaims Secured by Property

_ _ Column A Column B Column C
2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately Amount of claim value of collateral unsecured
for each clalm. if more than one creditor has a particular c|alm, list the other creditors in Part 2. D° not deducting that supports thls porlion
As much as possiblel list the claims in alphabetical order according to the creditor‘s name. value of collateral clalm if any
::I| Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that app|y.
n Contlngent
Ci unliquidated
City State ZiP Code n Disputed
WhO owes the debf'? Check One- Nature of ||en. Check all that app|y.
n Debtor 1 On|i’ l;] An agreement you made (such as mortgage or secured
l:i Debtor 2 only car loan)
n Deblorl and Debtor 2 only n Statutory lien (such as tax lien, mechanic's ||en)
a At least one of the debtors and another m Judgmem lien from a |aWSU|i
‘ Cl other lincluding a right to offsei)
m Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number __ _ ___ __
__Z;Zl Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street
As of the date you flie, the claim is: Check ali that app|y.
Cl Contlngent
Cl unliquidated
City State ZiP Code n Disputed
Who owes the debt? Check one. Nature of lien. check all thai apply.
n Debtori only a An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Debtor 1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic’s lien)
Ei Al least one of the debtors and another 13 Judgmenf lien from a lawsuit
n Other (|nc|uding a right to offset)
l;] Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ___ _ ___ ___
Add the dollar value of your entries in Column A on this page. Write that number here: §§___________0 §
page 1

 

Case 6:19-bl<-01511-KS.] Doc 1 Filed 03/11/19 Page 23 of 56

Fill in this information to identify your case:

Deblo,l KAi\/iiL iDRis

Flrst Name Midd|e Name Last Name

 

Debtor 2
(SpOtJSB, if filing) Flrst Name Middle Name Last Name

United States Bankruptcy Court for the: MlDDLE DISTR\CT OF FLOR|DA

 

 

C b ill check ifthis is an
(i?:i?dwn];n er amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Ciaims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPRlORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (0fflclal Form 106AIB) and on Schedule G: Executory Contracts and Unexplred Leases (Officlal Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (|t` known).

 

 

m List All of Your PR|0R|TY Unsecured Ciaims

 

1. Do any creditors have priority unsecured claims against you?
m No. Go to Part 2.
cl Yes.

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claiml list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of ciaim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

Totai claim Prlority Nonpriority
amount amount `
2.1
Last4 digits of account number _ __ __ __ $ $ $
Prlority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply,
l city state ziP code m C°n“"ge"t
z _ El uniiqdidaied
l Who incurred the debt? Check one. n Disputed
a Debtor1 only
’ n Debtor 2 only Type of PR|ORlTY unsecured claim:
g Debtor 1 and Debtor 2 only n Domestic support obligations
At least One of the debtors and another cl Taxes and certain other debts you owe the government
n check 'f th's °'a'm 's f°r a °°mm“"ity debt L_.i Ciaims for death or personal injury while you were
is the ciaim subject to drrset? ‘“‘°X'°a‘ed
§ |:| No m Other. Specify
' n Yes y
2'2 l Last4 digits of account number _ _ __ __ $ $ $

 

Prlority Creditor‘s Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that appiy.
m Contlngent

city state ziP code Ci Unliquldated

Who incurred the debt? Check one, m Dfsputed

a Debtor1 only

n Debtor 2 only

g Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Type of PR|ORlTY unsecured claim:
n Domestic support obligations
n Taxes and certain other debts you owe the government

Cl ci' rid th iinl h'i r
n Check if this claim is for a community debt alms 0 ea or persona Juryw \e you we 6

 

 

intoxicated
ls the claim subject to offset? Cl Other. Specify
n No
n Yes

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Ciaims page 1

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Debtor1 KAl\/llL lDRis

 

Flrst Name M|ddle Name Last Name

m List All of Your NONPRlORlTY Unsecured Ciaims

Case number (irknewn)

 

Yes

claims till out the Continuation Page of Part 2.

E AMEX

3. Do any creditors have nonpriority unsecured claims against you?
l:l No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

Nonpricn`ty Creditor`s Name

P 0 BOX 7871

Number Street

FORT LAUDERDAL FL 33329
C|ty State ZiP Code

Who incurred the debt? Check one.

m Debtor1 only

m Debtor2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

D Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each c|alm. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim |isted, identify what type of claim it is. Do not list claims already
included in Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

Totai claim

t__7_Z_6_Q1Q_Q_;

Last 4 digits of account number YFJ§_ ____

when was the debt lneurred? 02/10/2017

As of the date you file, the claim is: Check ali that apply.

n Contlngent
ill unliquidated
n Disputed

Type of NONPRlORlTY unsecured claim:

m Student loans

n Obi|gat|ons arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

g Other.Speclfy CREDlT CARD

 

~2 BK OF AMER

 

 

 

 

Nonpriority Creditor‘s Name
l POB 15026
Number Street
l vvll.NllNeToN Dlz 19801
l City state zlP code

Who incurred the debt? Check one,

m Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

a At least one of the debtors and another

l:l Check if this claim is for a community debt

is the claim subject to offset?

m No
m Yes

Last 4 digits of account number 3118 $ 1 2466 . 00

When was the debt lncurred? l /20/201

As of the date you file, the claim is: Check all that apply.

n Contlngent
El Unliquidated
a Disputed

Type of NONPRlORlTY unsecured claim:

m Student loans

l:l Obi|gations arising out ol a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

g Other.Speclfy CREDlT CARD

 

"'3 l cAPlTALoNE

Nonpl'iority Creditoi’s Name

 

 

11013 W BROAD ST

Number Street

GLEN ALLEN VA 23060
C|ty State Z|P Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

l;l Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

is the claim subject to offset?
m No
n Yes

 

Official Form iO6E/F

Last 4 digits of account number _2§]09__ _ __
when was the debt lncurred? 10/16/2013

s_B`_i_&Z_.QQ

As of the date you file, the claim is: Check ali that app|y.

n Contlngent
Cl unliquidated
l:l Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

l:] Debls to pension or prot'lt~sharing plans, and other similar debts

U other. specify CRED|T CARD

Schedule ElF: Creditors Who Have Unsecured Ciaims Page 3

Case 6:19-bl<-01511-KS.] Doc 1 Filed 03/11/19 Page 25 of 56

Debtor1 KAl\/llL lDR|S

 

Flrst Name Mlddle Name Last Name

Case number l/rknewn)

Your NONPRlORlTY Unsecured Ciaims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

l:l Debtor1 and Debtor 2 only

a At least one of the debtors and another

l;l Check if this claim is for a community debt

is the claim subject to offset?

m No
l:l Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Totai claim
4.4
CAplTAL ONE Last 4 digits of account number §7§_ __ __ $ 2988 00
Nonprlorily Creditcr‘s Name l 01/1 0/201 7
PO BOX 30253 When was the debt incurred?
Number Street _ _ _
As of the date you file, the claim is: Check all that apply.
sALT LAKE clTY uT 84130
Clty State ZlP Code m Contlngent
.§ n unliquidated
l Who incurred the debt? Check one. n Disputed
m Debtor1 only
C] Debtor 2 only Type of NONPRlORlTY unsecured claim:
n Debtor1 and Debtor 2 only n Student loans
n At least one of the deb(°rs and another n Ob|igations arising out of a separation agreement or divorce that
a Check if this claim is for a community debt you d|d not raped as monty c'?lms , _
L_.l Debts to pension or profit-sharing plans, and other similar debts
le the claim subject to affeet? m Othe,_ Spech CRED|T CARD
m No
n Yes
4.5 |
CAVALRY pORT Last 4 digits of account number _6_§9_5_ _ _ $_YQ_Z_._QQ§
Nonpriorlty Creditor’s Name
When was the debt incurred? Ml 8
500 SuMNllT LAl<E DR\VE SulTE 400
st
N`"“b°' '°°‘ As of the date you rile, the claim is: cheek all that apply.
vALHALLA NV 10595
Clly State ZiP Code cl Contlngent

n Un|iquidated
m Disputed

Type of NONPRlORlTY unsecured claim:

l;l Student loans

n Obi|gat|ons arising out of a separation agreement or divorce that
you did not report as priority claims

m Deth to pension or profit~sharl'ng plansl and other similar debts

m Other.Speclfy COLLECT|ON

 

 

CAVALRY PORT

 

 

 

Nonpriority Creditor‘s Name

500 SUMM|T LAKE DRlVE SUlTE 400

Number Street

VALHALLA NY 10595
City State ZiP Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

l;l Debtor 1 and Debtor 2 only

a At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

 

Official Form 106E/F

s 444.00

Last 4 digits of account number _5£0_§_ __ ___
When was the debt incurred? 1 1/29/2018

As of the date you file, the claim is: Check ali that apply.

n Contlngent
El unliquidated
n Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

l;l Obiigations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debls to pension or profit-sharing plans, and other similar debts

0 other_ specify COLLECT|ON

 

Schedule E/F: Creditors Who Have Unsecured Ciaims Page 4

Case 6:19-bl<-Ol511-KS.] Doc 1 Filed 03/11/19 Page 26 of 56

Debtor1 KAl\/llL |DR|S

 

Flrst Name Mlddle Name Last Name

Case number (lrknown)

m Your NONPRlCRlTY Unsecured Ciaims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Totai claim
4.7 . 0
cHAsE cARoMEMBER sERvicEs Lan 4 digits of account number _§_35_ ___ ___ $ 7325_00
Nonpiloiity Creditor`s Name 09/20/2014
P'O' BOX 6294 When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
CAROL STREAM lL 60197-6294
city stale zlP Code El contingent
n lJnliqu|dated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
n Debtor1 and Debtor 2 only m Student loans
m At least one of the debtors and another n Ob|igations arising out of a separation agreement or divorce that
. . . did not report as priority claims
m Check fthl claim isf racommunit debt you
l s o y n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offsci? q Other. Specify CRED|T CARD
m No
n Yes
4.8 | l
cHRYSi_ERCAp Last 4 digits of account number _|QOO_ _ _~__ $M;
Nonprlorlty Creditor's Name
When was the debt incurred? _0_9/2§/;(_)_1 7
PO BOX 961275
N""“’°' S"°°‘ As of inc date ou file thc claim is- check all that a l
i-'oRT WoRrH T)< 76161 y ’ ' pp y'
city stale ZiP Code ill contingent
n Un|lquidated
Who incurred the debt? Check one. cl Disputed
m Debtor1 only
i;l Debtor 2 only Type of NCNPRlOR|TY unsecured claim:
m Debtor 1 and Debtor 2 only n Student loans
m At least one °fthe debtors and another n Ob|igations arising out of a separation agreement or divorce that
. . did not report as priority claims
n Ch k if h l i l for mmunit debt you
l ec t ls c a m s a co y n Debts to pension or profit-sharing plans, and other similar debts
' ls the claim subject to offset? m Other. Specjfy AUTOMGB\LE
m No
m Yes
de .. ./ 4417 $ 2295.00y
CRED|TONEBNK , Last 4 digits of account number __ __ __ __
Nonpriority Creditor‘s Name
PO BOX 93372 When was the debt incurred? QLQS_/_z_g_14
N“"“’°' S"°°‘ A fin d t ri th l ' ' - ch l< ii in l l
LASVEGAS NV 89193 so e aeyou ie, ecaimis. ec a a appy.
C|ty slate zlP code Cl Contlngent
l ` El Unliquidated
Who incurred the debt? Check one. n Disputed
) m Debtor1 only
l;l Debtor 2 only Type of NONPRlORlTY unsecured claim:
n Debtor1 and Debtor 2 only n Studem loans
n A‘ least one °f the debtors and another n Ob|igations arising out of a separation agreement or divorce that
. . . . did not report as priority claims
El c i mu ii d bi y°u
heck lf mls c alm 'S for a com n y e m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other. Specify CRED|T CARD
¢ No
n Yes
Ochial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Ciaims PSQS 4

Debtor 1

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KAl\/|lL |DR|S

 

Flrst Name Mlddle Name Last Name

Case number (lfknown)

m Your NONPRlQRlT¥ Unsecured Ciaims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

Who incurred the debt? Check one,

i:l Debtor1 only

l:] Debtor 2 only

[.] Debtor 1 and Debtor 2 only

[] At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

Schedule ElF: Creditors Who Have Unsecured Ciaims

El unliquidated
El Disputed

Type of NONPRlORlTY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
n Other. Specify

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Totai claim
410
D|SCOVERBANK Last4 digits of account number _5§8§_ _ __ $ 7902 00
" Nonpriority Creditor’s Name
l When was the debt incurred? M14
§ POB 15316
' b s
Num er treat As of the date you file, the claim is: Check all that apply.
Wll_M|NGTON DE 19850
city state ziP codo E] Contlngent
n Unliquldated
Who incurred the debt? Check one. |:| Disputed
m Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
A' least one df the debtors and another cl Ob|igations arising out of a separation agreement or divorce that
. . did not report as priority claims
n Check if this claim is for a communit debt you
y n Debts to pension or proht~sharing plans, and other similar debts
ls the claim subject to offset? m Other. Specify CRED\T CARD
m No
n Yes
--j Last 4 digits of account number __ _ __ $
Nonprlorlty Creditoi“s Name
When was the debt incurred?
N b St t
um er rea As of the date you file, the claim is: Check all that apply.
C|ty State ZlP Code l;l Contlngent
C] unliquidated
Who incurred the debt? Check one, m Disputed
l;l Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
0 Debtor1 and Debtor2 only n Studenuoans
m At least one °f the debtors and another cl Ob|igations arising out of a separation agreement or divorce that
. did not report as priority claims
i;] Ch k if this claim l f r a communit debt you
ec 5 o y n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? [_] Other. Specify
n No
n Yes
_l . t
Last4 digits of account number __ ___ _ _
Nonprioiity Creditor’s Name
When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
City state zlP code U Contlngent

page 4

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Debtor 1 KAM|L iDR|S Case number ()rkndwn)

Flrst Name Mlddie Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

' 6. Totai the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

Tota| claim
j Tota| claims 6a. Domestic support obligations Ga. $ 0_()()
from Paru 6b. Taxes and certain other debts you owe the
government 6b. $ OiOO
60. Ciaims for death or personal injury while you were
intoxicated 60. $ O_()O
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + $ O'OO
6e. Tota|. Add lines 63 through 6d. Ge.
$ 0.00
Totai claim
Total claims 6f. Student loans 6f. $ O.OO
fr°m Part 2 Sg. Ob|igations arising out of a separation agreement
or divorce that you did not report as priority 0 0
claims 69. $___________'_0
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0.00
6i. Other. Add ali other nonpriority unsecured claims.
Write that amount here. 6i. + $ 61502.00
61. Totai. Add lines 6f through 61. 61. $ 61502_00

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 14

 

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Fill in this information to identify your case:

Debto, KAMiL iDRis

Flrst Name Mlddle Name Last Name

 

Debtor 2
(Spouse |f i|ilng) Flrst Name Middle Name Last Name

MlDDLE D|STR|CT OF FLOR|DA

 

United States Bankruptcy Court for the:

C number
iiia:§,wn) El Check if this is an

amended tiling

 

 

Official Form 1066

Schedule G: Executory Contracts and Unexpired Leases 12/15

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
i;l No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
M Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Oft”icial Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contractor lease is for (for
example, rent, vehicle leasel cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

person or company with whom you have the contract or lease State what the contract or lease is for

AR|UIV| TO CO~OCCUPY AN APART|\/iENT.
N§Fé

9000 SUl\/li\/||T CENTRE WAY

Number Street

ORLANDO FL 32810
City State ZlP Code

 

 

 

Name

 

Number Street

 

City State ZiP Code

2.3;'

 

Name

 

Number Street

 

C|ty state ziP code

 

Name

 

Number Street

 

City State ZiP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1

Case 6:19-bl<-01511-KS.] Doc 1 Filed 03/11/19 Page 30 of 56

Fill in this information to identify your case:

Debtor1 KAM|L lDRlS

Flrst Name M|ddle Name Last Name

Debtor 2
(Spouse. ii filing) Flrst Name Mlddle Name Last Name

United States Bankruptcy Court for the: MlDDLE D|STRlCT OF FLOR|DA

 

 

Case number

(|f knowni

 

a Check if this is an

 

amended tiling

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additionai Page, fill it out,
and number the entries in the boxes on the left. Attach the Additionai Page to this page. On the top of any Additionai Pages, write your name and
case number (lf known). Answer every question.

l
:1.

2.

 

§
Cl

Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

m No
n Yes

Within the last 8 years, have you lived ln a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

13 No. Go to line 3.
cl Yes. Dld your spouse, former spouse, or legal equivalent live with you at the time?
n No

l;l Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State Z|P Code

|n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse ls filing with you. List the person
shown ln line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Officia| Form 106D), Schedule E/F (Officiai Form 106ElF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

Schedule D, line

 

 

 

3.2

 

 

 

 

 

 

 

 

 

 

Name

Ci Schedule E/F, line
Number street El Schedule G, line
City State Z|P Code

E] Schedule D, line
Name

n Schedule E/F, line
Number Street El Schedule G, line
City State ZlP Code

[] Schedule D, line
Name

Ci Schedule E/F, line
Number street U Schedule G, line
City State Z|P Code

omciai Form 106H scheduie H: Your codebtors page 1

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b Fill in this information to identify your case:i

Debtor1 KAM|L IDR|S

Flrst Name Mlddle Name Last Name

Debtor 2
(Spouse, |‘i filing) Flrst Name Middle Name Last Name

MlDDLE DiSTR|CT OF FLOR|DA

 

United States Bankruptcy Court for the:

Case number Check if this iSZ
(|fknown)
l;l An amended filing

 

 

Ei A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106l __“_””MM / DD/ ww

 

Schedule |: Your income 12/15

Be as complete and accurate as possible. |f two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing joint|y, and your spouse is living with you, include information about your spouse.
|f you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Emp|oyment

 

 

lt. Fi|i in your employment _
information Debtor 1 Debtor 2 or non-filing spouse

 

if you have more than one job,
attach a separate page with

information about additional Emp|oyment status cl Employed _ m Employed
employers. m Not employed m Not employed
include part-time, seasonal, or
self-employed work.

Occupation

 

Occupation may include student
or homemaker, if lt applies.

Employer’s name

 

Employer's address

 

Number Street Number Street

 

 

 

City State ZiP Code City State ZiP Code

How long employed there?

 

m Give Detaits About Month|y income

Estlmate monthly income as of the date you file this form. lf you have nothing to report for any llne, write $0 in the space. include your non-filing
spouse unless you are separated

lf you or your non-ming spouse have more than one employer, combine the information for ali employers for that person on the lines

below. lf you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). if not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $
l 3. Estlmate and list monthly overtime pay. 3_ + $ 0.00 + $
4. calculate gross lncama. Add line 2 + line 3. 4. $ 0.00 $

 

 

 

 

 

Official Form 106l Schedule |: Vour income . page 1

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Debtor 1 KAM|L iDRiS Case number (irl<nawn)
Flrst Name M|ddie Name Last Name
For Debtor 1 For Debtor 2 or
Copy line 4 here ............................................................................................... ') 4. $
5. indicate whether you have the payroll deductions below:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0~00 $
5b. Mandatory contributions for retirement plans 5b. $ 0-00 $
50. Voluntary contributions for retirement plans 50. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0-00 $
5e. insurance 5e. $ 0.00 $
5f. Domestic support obligations 5f_ $ 0-00 $
59. Union dues 59~ $ 0'00 3
5h. Other deductions. Specify: 5h- + $ O-OO + $
l 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e + 5f + 59 + 5h. 6. $ 0.00 $
7. Ca|culate total monthly take-home pay. Subtract line 6 from line 4. 7_ $ 0.00 $
8. List ali other income regularly received:
8a. Net income from rental property and from operating a business, 8a $ 0.00 $
profession, or farm
Attach a statement for each property and business showing gross receipts, ordinary and
necessary business expenses, and the total monthly net income.
8b. interest and dividends $ 0~00
80. Family support payments that you, a non-filing spouse, or a dependent $ 0.00
regularly receive
include allmony, spousal support, child supportl malntenanoe. divorce settlementl and
property settlementl
8d. Unemployment compensation 0~00
Se. Social Security 0.00
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) 01 any non-cash assistance that you
receive. such as food stamps or housing subsidies
Spectty (Debtor 1): Speclfy (Debtor 2 or Non-F|l|ng Spouse):
$ 0.00 $
89. Pension or retirement income $ 0,00 $
8h. Other monthly income.
Specify (Debtor 1): Specify (Debtor 2 or Non-Fillng Spouse):
$ 0.00 $
§ 9. Add all other income. Add lines 8a + 8b + 8c + Bd + 8e + 8f +Bg + 8h. l $ 0.00 l l $_______ |
‘10.Ca|culate monthly income. Add line 7 + line 9. l $ O_OO | + | $ 0.00 l = l $ 0.00 lt

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-ming spouse.

111-State ali other regular contributions to the expenses that you list in Schedule J.
include contributions from en unmarried partner, members of your househo|d, your dependents your roommates, and other friends or
relatives. Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

speciry; SAYEEDA DURRAN|

 

11-'*' $_300-0_0

 

 

 

 

 

 

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 12 800 00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnformation, if it applies ` '
;12. Do you expect an increase or decrease within the year after you file this form? g%'me/e:m°me
' m No.
Ci Yes. Explain:
Official Form 106l Schedule i: Your income page 2

Case 6:19-bl<-01511-KS.] Doc 1 Filed 03/11/19 Page 33 of 56

Fill in this information to identify your case:

KAMlL lDR|S

Debtor 1 . . . _
F|ratName Mlddie Name Last Name Check if this ls-

 

Debtor2 Cl An amended filing

(Spouso. lff'lllng) FirstName Mlddlo Name LastName n
A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: MlDDLE D|STR|CT OF FLOR|DA expenses as Of the following date:

 

Case number MM / DD/ YYYY
(lfknown)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Househoid

 

 

 

1. is this a joint case?

M No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate household?

l;l No
l;] Yes. Debtor 2 must tile Official Form 106J-2. Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents? § No

 

 

 

 

 

 

 

Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and m Yes. Fill out this information for Debtor1 °r Debt°f? age Wi\h you?
Debtor 2. each dependent .......................... n
Do not state the dependents‘ m NO
names, Yes
l;l No
n Yes
C] No
l;] Yes
m No
l:i Yes
n No
l:l Yes
3. Do your expenses include w No

expenses of people other than n
yourself and your dependents? Yes

m Estimate Your Ongoing Monthly Expenses

 

Estlmate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Officiai Form 106l.) Y°u" expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and 4 y y 4 ii q l h400 00
any rent for the ground or lot. 4. $_--_----_`-~

lf not included in line 4:

4a. Reai estate taxes 43. $ 0.00
4b. Property, homeowner`s, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4a. Homeowner’s association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 34 of 56

 

 

 

 

 

 

 

 

 

Debtor 1 KAMiL iDRiS Case number (/rknown)
F|retNeme Middie Name LastName
Your expenses
5. Additionai mortgage payments for your residence, such as home equity loans 5.
6. Uti|ities:
6a. Electricity, heat, natural gas 6a. $ 100.00
6b. Water. sewer, garbage collection 6b. $ 0.00
Sc. Teiephone, cell phone, internet, satellite, and cable services 6c. $ 60_00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 150.00
B. Chiidcare and children’s education costs 8. $ 0.00
9. Clothing, |aundry, and dry cleaning 9. $ ZQ,QQ
10. Persona| care products and services 10. $ 40 gm
11. Medica| and dental expenses 11. $ 0 go
12. Transportation. include gas, maintenance, bus or train fare. $ O'OO
Do not include car payments 12. w
13. Entertainment, ciubs, recreation, newspapers, magazines, and books 13. $ 40-00
14. Charitabie contributions and religious donations 14. $ il 00
15. insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ O-OO
15b. Health insurance 15b. $ O~OO
150. Vehicie insurance 15c. $ 0.00
15d. Other insurance. Specify: 15d. $ O~OO
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: g 16. $____________QA)_
17. installment or lease payments:
17a. Car payments for Vehicie 1 17a. $
17b. Car payments for Vehicie 2 l 17b. $
17c. Other. Specify: 17c. $
17c. Other. Specify: 17d. $
18. Your payments of aiimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your income (Officiai Form 106|). 18. $ 0,00
19. Other payments you make to support others who do not live with you.
Specify: 19. $ 0.00
20. other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $ O-OO
20b. Reai estate taxes 20b. $ 0.00
20a. Property, homeowner’s, or renter’s insurance 20c. $ O-OO
20d. Maintenance, repair, and upkeep expenses 20d. $ O~OO
20a. Homeowner’s association or condominium dues 209. $ 0.00

Official Form 106J Schedule J: Your Expenses page 2

 

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Debtor1 KAM\L |DR|S Case number (irkm>wn)
Flrst Name Mlddie Name Last Name
21. Other. Specify: 21. +$ 0.00

 

22. Ca|culate your monthly expenses.

22a. Add lines 4 through 21. 22a. $ 810.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Of&cial Form 106J~2 22b. $ 0,00

 

22c. Add line 22a and 22b. The result is your monthly expenses. 220. $ 81()_00

23. Ca|culate your monthly net income.

 

. . . $ 800.00
23a. Copy line 12 (your combined monthly Income) from Schedule /. »_ 23a. ___-______-
23b. Copy your monthly expenses from line 220 above. 23b. _ $ 810.00
230. Subtract your monthly expenses from your monthly income. 1 0 0 0

The result is your monthly net income. 23c. $----_---i-_

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

M No.

l
For exampie, do you expect to finish paying for your car loan within the year or do you expect your l
n YeS~ ; Exp|ain here:

 

 

Official Form 106J Schedule J: Your Expenses page 3

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 36 of 56

Flli in this information to identity your case:

Debi0,1 KAl\/iiL iDRlS

Flrst Name Mlddle Name i_ast Name
Debtor 2
(Spouse, ll tlllng) Flrst Name Middle Name inst Name

United States Bankruptcy Court for the: MlDDLE D|STR‘CT OF FLOR|DA

Case number
(ll known)

 

 

 

Ei Check if this is an
amended filing

 

Official Form 1060ec
Declaration About an individual Debtor’s Schedules 12/15

 

if two married people are filing together, both are equally responsible for supplying correct lnformation,

You must tile this form whenever you file bankruptcy schedules or amended schedules Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C.§§152,1341,1519,and 3571.

- Slgn Beiow

Dld you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

ENo

n Yes. Name of person . Aiiach Bankruptcy Pelilion Preparer's Nolice, Declaralion, and

Signature (Officiai Form 119).

 

Under penalty of perlury, i declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

XJ'§Mi/\ gill x

 

 

Signature of Debtor1 Signature of Debtor 2
Datei..)f) 06 Q_'U iv Date
MM/ DD / VYYY MM/ DD / YYYY

Official Form 106Dec Declaratlon About an individual Debtor's Schedules

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 37 of 56

Fill in this information to identify your case:

Debtor1 KAM|L iDRiS

Flrst Name Mlddle Name Last Name

 

Debtor 2
(Spouse, ifiiiing) FlrstNeme Mlddie Name Lost Name

United States Bankruptcy Court for the: MlDDLE D|STR|CT OF FLOR|DA

 

Case number

(ifi<nown) y Ci Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

m Give Details About Your Marital Status and Where You Lived Before

 

1. What ls your current marital status?

E] Married
g Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

ElNo

§ Yes. List ali of the places you lived in the last 3 years, Do not include where you live now.

 

 

 

 

 

 

 

 

Debtor1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor 1 n Same as Debtor 1
6659 SW 49TH ST From 2016 N b From
Number Street um er Street
To 29 l 2 To
DAV|E FL 33314
City State ZiP Code City State ZiP Code
n Same as Debtor 1 n Same as Debtor 1
305 LAKEPOiNTE DR mm 2007 mm
Number Street Number Street

TO 21116_ TO
1 02

 

 

ALTAi\/lONTE SPRli FL 32701
City State ZiP Code City State ZiP Code

 

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Caiifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

§No

n Yes. Make sure you fill out Schedule H.' Your Codebtors (Officiai Form 106H).

m Exp|ain the Sources of Vour income

Official Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 1

Case 6:19-bk-01511-KS.] Doc 1 Filed 03/11/19 Page 38 of 56

Debtor1 KAi\/||L |DRiS

Case number (/fknown)
Flrst Name Mlddie Name Lest Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ali jobs and all businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

i;l No
Ui Yes. i=iii in the deiaiis.

 

§ Debtor 2 ~ `
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
Fr°m January 1 of current year until in Wages, co'mmissions, $ 0 n Wages, commissions, $
the date you filed for bankruptcy: bonuses' ups bonuses’ ups
m Operating a business n Operating a business
. w Wages, commissions n Wages, commissions
Fo ear. ' ’
r last calendar y 2 bonuses, tips $ 30.84 bonuses, tips $
(January 1 10 Decembel' 31»w_g_g_8___) n Operating a business n Operating a business
For the calendar year before that w Wages, commissions, n Wages, commissions,

bonuses, tips

30‘56 bonuses, tips
(January 1 to Decembel‘ 31.\§9\:|7 ) m Operating a business $ $

n Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are ming a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

D No
l] Yes. Fiii in the deiaiis.

 

 

 

 

 

 

7 Debtorft`~: f `“ t ` :` f ` ` t ` `DebtorZ 1
Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe beiow. each S°W'Ce
(before deductions and (before deductions and
exclusions) exclusions)
- _AX_____BBANL .
From January 1 of current year until S EEDA DU $__..__8_90_00_
the date you filed for bankruptcy:
SAYEEDA DURRAN| $ 4800.00
For last calendar year:
(January 1 to December 31, 2018 )
YYYY
$
For the calendar year before that: SAYEEDA DURRAN| $ 4800.00

 

 

 

(January 1 to December31, 2017 )
YwY

 

 

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 2

 

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Debtor1 KAi\/iii.. iDRiS Case number (ifimown)

 

Flrst Neme Middle Name Last Name

m List Certain Payments You Made Before You Fiied for Bankruptcy

 

6. Are either Debtor 1’5 or Debtor 2’s debts primarily consumer debts?
i:i No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, familyl or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

El No. co to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

w Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

w No. Go to line 7.

[;i Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
aiimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Totai amount paid Amount you still owe Was this payment for...
payment
. $ $ cl Mortgage
Creditor’s Name
n Car
Number Street n Credit card

m Loan repayment

 

ij Suppliers cr vendors

 

 

 

city stale ziP code i;i Other
$ $ m Mortgage
Creditors Name
n Car

n Credit card

 

Number Street
n Loan repayment

 

n Suppliers or vendors

 

 

 

City Siaie ziP code m Other
$ $ n Mortgage
Creditofs Name
m Car

i;] Credit card

 

Number Street
n Loan repayment

 

n Suppiiers or vendors
l;l other

 

City State ZlP Code

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 3

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Debtor1 KA|\/iiL lDRiS

Case number (iii<nown)
Flrst Neme Mlddie Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in controi, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

MNo

D Yes. List all payments to an insider.

 

 

 

 

 

Dates of Totai amount Amount you still Reason for this payment
payment paid owe
$ $
lnsider’s Name
Number Street
City State ZlP Code
$ $

 

lnsiders Name

 

Number Street

 

 

City State Z|P Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an lnsider?

include payments on debts guaranteed or cosigned by an insider.

MNo

i;i Yes. List ali payments that benefited an insider.

 

 

 

 

 

Dates of Totai amount Amount you still Reason for this payment
payment paid owe include creditor's name
insider`s Name $ $
Number Street
City State ZiP Code
$ $

 

lnsider’s Name

 

Number Street

 

 

 

City State ZiP Code

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 4

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Debtor1 KAN"L |DR|S Case number (/rknawn)

Flrst Name Middle Name Last Neme

 

 

m identify Lega| Actions, Repossessions, and Foreclosures

§ 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.
m No
Eii Yes. Fiii in the details

 

 

 

 

 

 

 

 

Nature of the case Court or agency w ,I,H f COLAN,`.)/ Status of the case
i § ` - ({ V\ Cl i` “ _ » ,, _,.
§ v C\&\ Q\(~u\,`, CO\(R ,T O(‘LAMC)»C (_Q\J\t\) i}/
Case title §2'\§'(,@\/\?; i)\. BAN \\/<§ (, ()\\_§.D\ \ <_ f`\@p Court Name E/i;’ending
“"” - ` (> @G¢i. § (‘W.S§O m On appeal
\/s \"<il\rviu» 10(;\3 lille \\liCir<m<.\€ l\oe,
;Number Street \) / n COnCluded
y Case number C> t"\C/\v\o\ O’ \:` (~» gag 9 \
QG\\C\ M C(" m OG\ ,_S,_B\`:) w 0 » §Clty State Z|P Code
Case title town Name n Pendlng
n On appeal
Number Street n Conciuded
Case number §
City State Z|P Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ali that apply and till in the details beiow.

cl No. Goto line 11.
m Yes. Fill in the information beiow.

Describe the property Date Value of the property

'Cc\ § §
Ci»\r v\s\\'zc Caelk~a\ < $,D`S&'Srg @fl

Creditor’s Name"'

P~@»@O>¢` 616\'3\“75

Number Street Exp|ain what happened

 

U/i°mperty was repossessed.

 

Ei Property was foreclosed,

Y; T, W@ (b L»\ “’\">,` "[éi éi-~ i)§7_§ n Property was garnished

city state ziP code Ei Property was attached, seized, or levied.

 

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street
Exp|ain what happened

Property was repossessed

 

Property was foreclosed.
Propeity was garnished.

 

City State ZiP Code

i;li:ll;li]

Property was attached, seized, or |evied.

Official Form 107 Statement of Financiai Affairs for individuals Filiiig for Bankruptcy page 5

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Debtor1 KAMH_ IDR|S Case number (/rknown)

 

 

Flrst Name Mlddie Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

MNO

C] Yes. Fiii in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State Z‘F Code Last 4 digits of account number: XXXX-_

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

m No
El Yes

m List Certain Gifts and Contributions

13.With|n 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNO

n Yes. Fiii in the details for each gift.

 

 

 

 

 

Gifts with a total value of more than $600 Descrlbe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gava the Gift
$
Number Street
City State ZiP Code
Person's relationship to you
Gifts with a total value of more than $600 Descrlbe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZiP Code

Person’s relationship to you

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 6

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Debtor1 KAM|L !DR|S Case number (lrlmdwn)

Flrst Name Micldie Name Last Name

 

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNo

[._.l Yes. Fill in the details for each gift or contribution

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
CharitYs Name
$

 

 

Number Street

 

City State ZiP Code

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

a No
Cl Yes. Fill in the deialls.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred _ v _ loss lost
include the amount that insurance has pald. List pending insurance

claims on line 33 of Schedule A/B: Property,

m List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

w No
Ci Yes. Fill in the details

 

 

 

Descrtption and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Pald made
Number Street $
$

 

City State ZiP Code

 

Emall or website address

 

 

Person Who Mada the Payment. if Not You

Ofnciai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7

 

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Debtor1 KAMH- lDR|S Case number (/rl<nown)
Flrst Name Middle Name Last Name
Descriptlon and vatue of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

 

 

City State ZiP Code

 

Emall or websile address

 

Person Who Mada the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNO

El Yes. Fill in the details

 

 

 

Descriptlon and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$

 

City State ZiP Code

 

18. Within 2 years before you filed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

MNo

ll] Yes. Fill in the deiails.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZiP Code

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZiP Code

Person’s relationship to you

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 8

 

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Debtor1 KAMH- |DR‘S Case number iirkndwn)

Flrst Name Mtddla Name Last Name

 

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

mNo

Ci Yes. Fill in the details

Descrlption and value of the property transferred Date transfer
was made

Name of trust

 

List Certain Financiai Accounts, lnstruments, Safe Deposlt Boxes, and Storage Unlts
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, soid, moved, or transferred?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

MNo

El Yes. Flll in the deteils.

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financlal institution _
XXXX-- n Checklng $
n Savings

 

Number Street
n Money market

 

n Brokerage

 

 

 

City State ZiP Code n other
XXXX- m Checking $
Name of Flnanclai institution
n Savings
Number Street n Money market

a Brokerage

 

El other

 

City State ZiP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
a No
n Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have lt?
n No
Name of Financiai institution Nama n Yes
Number S"e°" Number Street
City State ZiP Code

 

 

City State ZiP Code

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 9

 

 

 

 

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Debtor1 KAM|L |DR‘S Case number (/rknewn)

Flrst Name Mlddle Name Last Name

 

 

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
g No
El Yes Fill in the details

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Fac|lity Name cl YBS
Number Street Number Street

 

CityState ZiP Code

 

 

City State ZiP Code

m identify Froperty You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
a No
Cl Yes Fill in the details

 

Where is the property? Describe the property Value

 

Owner's Name $

 

" L Street
Number Street

 

 

 

 

City State ZiP Code
City State ZlP Code

m Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

 

 

Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, iand, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materiai.

a Site means any |ocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

MNo

n Yes. Fill in the detai|s.

 

 

 

 

Governmenta| unit Envlronmental law, if you know lt Date of notice
Name of site Governmental unit
Number Street Number Street j
City State Z|P Code

 

C|ty State ZiP Code

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 10

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Debtor1 KAM"- |DR!S Case number (lrknew,i)

Flrst Name Mlddle Name Last Name

 

 

25.Have you notified any governmental unit of any release of hazardous materiai?

MNo

El Yes Fill in the details

 

 

 

 

Governmental unit Environmental law, if you know lt Date of notice
l
l
Name et site Governmental unit
Number Street Number Street §
t
City f State Z|P Code §

 

City State ZiF Code §

26. Have you been a party in anyjudicial or administrative proceeding under any environmental iaw? include settlements and orders.

mNo

El Yes Fill in the details

 

 

Court or agency Nature of the case status of the
case
Case title
Court Name m Pendmg
n On appeal
Number Street n Concluded
case """‘b°" city state ziP code

m Give Detalls About Your Business or Connectlons to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
cl A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
n An officer, director, or managing executive of a corporation

 

n An owner of at least 5% of the voting or equity securities of a corporation

a No. None of the above applies. Go to Part 12.
m Yes. Check ali that apply above and fill in the details below for each business,
Describe the nature of the business Employer identification number
Do not include Social Security number or lTiN.

 

Business Name

 

 

 

 

E|N: _ ___ - _______
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZiP Code
Describe the nature of the business Employer identification number

Do not include Social Security number or lTiN.

 

Business Name

 

 

E|N:____-__________
Number Street
Name of accountant or bookkeeper Dates business existed
From To

 

City State ZiP Code

 

 

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 11

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Debtor1 KAM“- !DR|S Case number (/rkndwn)

Flrst Name Mlddie Name Last Name

 

 

Employer identification number
Do not include Social Security number or lTiN.

Describe the nature of the business

 

Business Name

 

 

ElN!__-_________________
Number Street Name of accountant or bookkeeper Dates business existed
From ____ To

 

City State ZiP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

mNo

n Yes. Fill in the details below.

Date issued

 

Name MM / no / YYYv

 

Number Street

 

 

City State ZiP Code

 

| have read the answers on this Statement of Financiai Affairs and any attachments, and i declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x mt iiiri/ x

Signature of Debtor1 Signature of Debtor 2

Date© >) § §§_6 § L() \C? Date

Did you attach additional pages to Your Statement of Financiai Affairs for Individuals Filing for Bankruptcy (Officiai Form 107)?

M No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

mNo

m Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Officiai Form 119).

 

Ofiicial Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 12

 

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Fill in this information to identify your case:

Debtor1 KAi\/||L |DR|S

Flrst Name Mlddla Name Last Name

Debtor 2
(Spouse, if i'liing) Flrst Name Nllddle Name Last Name

United States Bankruptcy Courtforthe: MlDDLE D|STR|CT OF FLORIDA

Case number a CheCk if this iS an
(lti<nawa) amended filing

 

 

 

 

Official Form 108
Statement of intention for lndividua|s Filing Under Chapter 7 tate

 

if you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Have Secured Ciaims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Ciaims Secured by Property (Officiai Form 106D), fill in the
information below.

 

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the properly
secures a debt? as exempt on Schedule C?
Credito')$ n Surrender the property. n No
name:
n Retain the property and redeem it. n Yes
E;;(;',?;'on of m Retain the property and enter into a
Securing debt Reaffirmat/'on Agreement.
m Retain the property and [exp|aln]:
Ciedit°r'$ n Surrender the property. a No
name:

i;i Retain the property and redeem it. ij Yes
Description of
property
securing debt:

n Retain the property and enter into a
Reaftirmalion Agreement.

[;l Retain the property and [explain]:

 

Creditors E\ Surrender the property. |;l No
name:

n Retain the property and redeem it. Cl Yes
Description of
property
securing debt:

n Retain the property and enter into a
Reaffirmation Agreement.

[;\ Retain the property and [explain]:

 

Creditor’s Cl Surrender the property. n NO
name:

i;i Retain the property and redeem it. n Yes
Description of
property
securing debt:

n Retain the property and enter into a
Reaffirmation Agreement.

 

El Retain the property and [expiain]:

 

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Debtor1 KAM|L iDRiS Case number (Ifknown)

 

 

Flrst Name Mlddle Name Last Name

m List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Officiai Form 106G),
fill in the information beiow. Do not list real estate ieases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wili the lease be assumed?

Lessor’s name: AR|U|V| i:l No

Description of leased TO CO-OCCUPY AN APARTMENT. M Yes

 

property:

Lessor’s name: 0 No
El Y

Description of leased es

property:

Lessor’s name: i;l No

Description of leased n Yes

property:

Lessor’s name: n No
[;i Yes

Description of leased

property:

Lessor’s name: [] No
n Yes

Description of leased

property:

Lessor’s name: El No
El Yes

Description of leased

property:

Lessor’s name: El No
Cl Yes

Description of leased
property:

 

Under penalty of perjury, i declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x starr x

 

 

'~s.l/
Signature of bebtor 1 Signature of Debtor 2
Date Q"°? Qi§ `LO ici Date
MM/ DD / YYYY MM/ DD/ YYYY

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

 

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l F_iil in this information to identify your case:

KAl\/|lL |DR|S

Flrst Name

Debtor 1

Mlddle Name Last Name

Debtor 2
(Spouse, if iiiing) First Name

United States Bankruptcy Court for the: MlDDLE D|STR|CT OF FLOR|DA

 

Mlddle Name Last Name

Case number
iii known)

 

 

 

Official Form 122A-1

 

Chapter 7 Statement of Your Current Monthly income

  

Check one box only as directed in this form and in
Form 122A-1Supp:

    
   

w 1. There is no presumption of abuse.

  
       
    
  

E] 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Ca/culation (Officiai Form 122A-2).

n 3. The Means Test does not apply now because of
qualified military service but it could apply later,

 

El Check if this is an amended filing

12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of

Abuse Under § 707(b)(2) (Officiai Form 122A-1Supp) with this form.

m Ca|culate Your Current Monthly income

 

1. What is your marital and filing status? Check one only.
m Not married. Fill out Column Al lines 2-11.

n Married and your spouse is NOT filing with you. You and your spouse are:

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions).

3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in.

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your househo|d, your dependents, parents.
and roommates. include regular contributions from a spouse only if Column B is not
titled in. Do not include payments you listed on line 3.

5. Net income from operating a business, profession,
or farm
Gross receipts (before all deductions)

Debtor 1 Debtor 2

$L® $___
- $_Q.QD- $___

Ordinary and necessary operating expenses

 

 

 

Official Form 122A~1

Copy

Chapter 7 Statement of Your Current Monthly income

a Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

El Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

n leing separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from ali sources, derived during the 6 full months before you tile this
bankruptcy case, 11 U.S.C. § 101(1OA). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. if the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any line, write $0 in the space.

Column B
Debtor 2 or
non-filing spouse

$ 0.00 $

Column A
Debtor 1

$ 0.00 $

$ 466.67 $

Net monthly income from a business, profession, or farm $ O_()O $ here $ 0.00 $
6. Net income from rental and other real property Debt6rb Debtor 2

Gross receipts (before all deductions) $A $

Ordinary and necessary operating expenses - $_O___O_O - $

Net monthly income from rental or other real property $ O_OO $ :;r'g) $ 0.00
7. |nterest, dividends, and royalties $ 0.00

page 1

 

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\ ‘ ' ' q
Debtor1 Kiii`f`i \i :§~(§ ii t 3 Case number iikn@wn)
FlrstName ' M|ddle Name LeslName
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $

 

10.

11.

13.

14.

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. instead, list it here: ...............................

0.00

   

For you ..................................................................
For your spouse.

Pension or retirement income. Do not include any amount received that was a

 

 

benefit under the Social Security Act. $ 0.00 $
income from ali other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.
$ 0.00 $

Totai amounts from separate pages, if any. + $ + $
Calculate your total current monthly income. Add lines 2 through 10 for each z § + § i_
column. Then add the total for Column A to the total for Column B. $ 466.67§ § $ 0 OO "' $ 466,67

 

 

 

 

m Determine Whether the Means Test Applies to ¥ou

 

Totai current
monthly income

 

12. Ca|culate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income from line 11. .................................................................

Multiply by 12 (the number of months in a year).

12b, The result is your annual income for this part of the form.

Calculate the median family income that applies to you. Fol|ow these steps:

§ l
Fill in the state in which you live. § FL §

Fill in the number of people in your household. § 1 §

Fill in the median family income for your state and size of household ..............................................

 

 

................. Copy line 11 here") § $ y ry 466.67 § §
x 12
,, $M l
............................................... 13. $ 46677.00

 

 

To find a list of applicable median income amounts, go on|ine using the link specified in the separate

instructions for this form. This list may also be available at the bankruptcy clerk’s office.

How do the lines compare?

14a. al Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse

Go to Part 3.

14b. [;i Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A~2.

m Sign Below

 

By signing here, i declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

><Vtui airi/ X

Signature of Debtor 1 Signature of Debtor 2
Date©% 0 C:i 10 \L;) Date
MM/DD /YYYY MM/DD /YYYY

lf you checked line 14a, do NOT fill outer file Form 122A-2.
if you checked line 14b, fill out Form 122A~2 and file it with this form.

 

Official Form 122A-1

Chapter 7 Statement of Your Current Monthly income

page 2

 

 

 

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iiiAii l i ZUlQ
Clerk ofCourt C`@r,k, U_S' Bankrupi@`yb
U.S. Bankruptcy Court Orlgm¢;ii;i Ul\!lS\On

Middle District of Florida

ln re: Kamil Idris

Dear Clerk of Court,

I am the executive director of Upsolve.org. Upsolve is a national legal aid nonprofit funded by
the Legal Services Corporation and leading philanthropic foundations We provide free Chapter

7 assistance for low~incorne debtors who need a fresh start but cannot afford counsel

lam writing to notify the Court that Upsolve has assisted the above~captioned debtor in
preparing their Chapter 7 forms. Upsolve is not the pro se debtor’s attorney And because We
have provided our services pro bono, Upsolve is not a petition preparer under section 110 of
the Bankruptcy Code. As a result, Official Form 119 is not required of the debtor and has not

 

been provided

If you have any additional questions, please do not hesitate to contact me at

jonathan@upsolve.org. Please docket this letter.

Respectfullyw§iiblnitted,
_\:§ me 4/t ’\/'Q>J§AF_§

Jonathan Petts

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MlDDLE DlSTRlCT OF FLOR|DA
lN THE UNlTED STATES BANKRUPTCY COURT FOR THE

lN RE:

 

)

)

) Case No.
KAM|L lDR|S )
)

Debtor. Chapter 7

VER|F|CATlON OF MATR|X

The above named debtor hereby verifies that the attached List of Creditors is true
and correct to the best of his/her/their knowledge

Date: © 93 a @ é"' QO §§ w M

Debtor Signature

Case 6:19-bk-01511-KS.] Doc 1

Ame)<
P O Bo)< 7871
Fort l_auderdal_ Fl_ 33329

Dlseoverbank
Pob 15316
Wilmington. DE 19850

Bk Of Amer
Pob 15026
Wllmington, DE 19801

Capital One
11013 W Broad St
Glen Allen` VA 23060

Capital One
Po Bo>< 30253
Salt Lake City. UT 84130

Cavalry Port
500 Summit Lake Dnve Suite 400
Valhalla. NY 10595

Chryslercap
Po Box 961275
Fort \/\/orth. TX 76161

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Creditonebni<
Po Bo)< 98872
l_as Vegas. l\iV 89193

Chase Cardmember Services
P 0 Bo)< 6294
Caro| Strearn, iL 60197-6294

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